                           UNITED STATES DISTRICT COURT

                              DISTRICT OF CONNECTICUT

 Gordon Clark, and the Estate of Lillian J. Clark      :
                                                       :
 V.                                                    :        CIVIL NO. 3:22-cv-39-SVN
                                                       :
 Santander Bank, N.A., Scott Powell (as former         :
                                                       :
 CEO of Santander), Timothy Wennes, Pierre             :
 Habis, Kenneth O’Neill, John or Jane Doe (of          :
 Santander Bank, N.A.), Wells Fargo &                  :
 Company, Scott Powell (as COO of Wells                :
 Fargo), Bendett & McHugh, P.C., Adam L.               :
                                                       :
 Bendett, Jeffrey M. Knickerbocker, Dominick D.        :
 Neveux, Joseph Abraham, and Mark A. Piech             :

                                   PARTIAL JUDGMENT

       This action having come before the Court on defendants’ motions to dismiss before

the Honorable Sarala V. Nagala, United States District Judge; and the Court having

considered the full record of the case including applicable principles of law, having

issued an indicative ruling       granting    defendants’     motions      to   dismiss   as   to

the Estate Plaintiff on October 27, 2023, and dismissing the Estate Plaintiff's claims

without leave to amend, and directing the Clerk to enter partial judgment in

favor of defendants against the Estate Plaintiff on January 7, 2025. Partial judgment

having also entered in favor of the defendants against Gordon Clark on December 15,

2023; it is hereby

       ORDERED, ADJUDGED and DECREED that partial judgment is hereby entered

in favor of defendants against plaintiff the Estate of Lillian J. Clark.

      Dated at Hartford, Connecticut, this 9th day of January, 2025.

                                                     DINAH MILTON KINNEY, Clerk

                                                     By      /S/ Samantha Bergeson
                                                            Samantha Bergeson
                                                            Deputy Clerk
EOD: 1-9-2025
